            Case 3:13-cv-00246-RCJ-WGC Document 90 Filed 10/21/20 Page 1 of 4


 1   AARON D. FORD
       Attorney General
 2   Allison Herr (NV Bar No 5383)
       Senior Deputy Attorney General
 3   State of Nevada
     Office of the Attorney General
 4   555 E. Washington Ave., Ste. 3900
     Las Vegas, NV 89101
 5   (702) 486-3799 (phone)
     (702) 486-2377 (fax)
 6   AHerr@ag.nv.gov
     Attorneys for Respondents
 7

 8                                  UNITED STATES DISTRICT COURT
 9                                       DISTRICT OF NEVADA
10    MICHAEL L. SMITH,
                                                         Case No. 3:13-cv-00246-RCJ-WGC
11                    Petitioner,
                                                             ORDER GRANTING MOTION FOR
12    vs.                                                     EXTENSION OF TIME TO FILE
                                                           ANSWER TO AMENDED PETITION FOR
13    RENEE BAKER, et al.,                                     WRIT OF HABEAS CORPUS
                                                                     (ECF NO. 44)
14                    Respondents.
                                                                      (FOURTH REQUEST)
15

16          Respondents move this Court for a thirty-day extension of time from the current due date of
17   Monday, October 5, 2020 up to and including Wednesday, November 4, 2020 in which to file their answer
18   to Michael Smith’s Second Amended Petition for Writ of Habeas Corpus. ECF No. 44. This motion is
19   made pursuant to Fed. R. Civ. P. 6(b) and Rule 6-1 of the Local Rules of Practice and is based upon the
20   attached affidavit of counsel.
21          This is the fourth enlargement of time sought by Respondents and is brought in good faith and
22   not for the purpose of delay.
23          DATED October 5, 2020.
24                                               AARON D. FORD
                                                 Attorney General
25

26                                               By: /s/ Allison Herr
                                                     ALLISON HERR (Bar No. 5383)
27                                                   Senior Deputy Attorney General

28



                                                  Page 1 of 4
           Case 3:13-cv-00246-RCJ-WGC Document 90
                                               89 Filed 10/21/20
                                                        10/05/20 Page 2 of 4


 1                                  DECLARATION OF ALLISON HERR
 2   STATE OF NEVADA )
                      ) ss:
 3   COUNTY OF CLARK )
 4          I, Allison Herr, being first duly sworn under oath, depose and state as follows:
 5          1.      I am an attorney licensed to practice law in all courts within the State of Nevada and am
 6   employed as a Senior Deputy Attorney General in the Office of the Nevada Attorney General. I have
 7   been assigned to represent Respondents in the case of Smith v. Baker, 3:13-cv-00246-RCJ-WGC, and as
 8   such, have personal knowledge of the matters contained herein.
 9          2.      An answer to the Second Amended Petition for Writ of Habeas Corpus (ECF No. 44) is
10   currently due on Monday, October 5, 2020. I have been unable to timely complete the answer in this
11   matter and need additional time to respond. I am seeking an extension of thirty days up to and including
12   Wednesday, November 4, 2020.
13          3.      I recognize that it is highly unusual to seek or to be granted a fourth extension. However,
14   I had encountered several emergency matters, both professional and personal that subverted my efforts
15   to complete this project. When I previously sought a third extension, I advised this Court that my husband
16   had been ill with covid. At the time that motion was drafted, I believed he was recovering so only sought
17   a thirty-day extension. However, after seeking this extension he experienced another setback and was
18   again hospitalized. In addition, I am working from home and subject to remote access to work computers.
19   In an effort to improve reliability, the Office of the Nevada Attorney General is transitioning databases
20   to cloud services, and while this will be an improvement in the long run, in the short run this has resulted
21   in computer outages on September 8, 2020; September 11, 2020; September 14, 2020; September 15,
22   2020; and September 18, 2020, frustrating my ability to access necessary information to respond to this
23   matter. Further due to an electronic filing error, on September 21, 2020, I learned for the first time of a
24   9th Circuit matter filed under case 20-72428. The better part of a day was spent identifying the error and
25   remedying the situation. While the Ninth Circuit Court did grant me a brief extension, that extension was
26   only granted to October 5, 2020 to file my opposing pleadings. Unfortunately, all of these matters
27   negatively impacted my ability to complete the answer in this matter. Thus, I am seeking another
28   extension based upon the totality of the circumstances.



                                                     Page 2 of 4
         Case 3:13-cv-00246-RCJ-WGC Document 90
                                             89 Filed 10/21/20
                                                      10/05/20 Page 3 of 4


 1        5.     I have discussed this matter with opposing counsel, and she does not oppose my request.
 2        6.     This is the fourth request for an extension to file the answer.
 3        7.     This motion is made in good faith and not for the purpose of delay.
 4        I declare under penalty of perjury that the foregoing is true and correct
 5        Executed on this 5th day of October 2020.
 6

 7                                                      /s/ Allison Herr
                                                        ALLISON HERR (Bar No. 5383)
 8

 9

10
     ORDER
11
     IT IS HEREBY ORDERED that the Motion for Extension of Time to File Answer to Amended
12   Petition for Writ of habeas Corpus (ECF No. 89) is GRANTED.
13
     IT IS FURTHER ORDERED that Respondents shall file and answer to the Second Amended Petition
14   for Writ of Habeas Corpus (ECF No. 44) on or before Wednesday, November 4, 2020.

15   IT IS SO ORDERED this 22nd
                           21st day of October, 2020.
16

17
     __________________________________
18   ROBERT C. JONES
     United States District Judge
19
20

21

22

23

24

25

26

27

28



                                                  Page 3 of 4
           Case 3:13-cv-00246-RCJ-WGC Document 90
                                               89 Filed 10/21/20
                                                        10/05/20 Page 4 of 4


 1                                      CERTIFICATE OF SERVICE
 2          I hereby certify that I electronically filed the foregoing Motion for Extension of Time to File
 3   Answer to Second Amended Petition for Writ of Habeas Corpus (Fourth Request) with the Clerk of the
 4   Court by using the CM/ECF system on October 5, 2020.
 5          The following participants in this case are registered electronic filing system users and will be
 6   served electronically:
 7
            Amelia L. Bizzaro
 8          Assistant Federal Public Defender
            Wisconsin State Bar No. 1045709
 9          411 E. Bonneville Ave., Ste. 250
            Las Vegas, Nevada 89101
10          (702) 388-6577
11          Amelia_Bizzaro@fd.org

12
                                                 /s/   C. Martinez
13                                               An employee of the Office of the Attorney General

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28



                                                   Page 4 of 4
